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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   801 I Street,3rd floor
     Sacramento, California 95814-2512
 3   heather_williams@fd.org
     Telephone: (916) 498.5700
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 6
                               IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,                  )
 9                                              )     Case № 2:19-cr-00107-KJM
                      Plaintiff,                )
10                                              )               APPLICATION AND
             vs.                                )          ORDER FOR APPOINTMENT OF
11                                              )            CJA LEARNED COUNSEL –
     JASON CORBETT (8),                         )          POTENTIAL DEATH PENALTY
12                                              )                PROSECUTIONS
                      Defendant.                )
13                                              )
14          The Federal Defender – California Eastern, in its roles as a member of the CJA Panel
15   Selection Committee and finding appointed counsel for individuals requiring legal consultation
16   and representation, pursuant to 18 U.S.C. §§ 3005, 3006A, and 3599`, requests this Court
17   appoint counsel for JASON CORBETT and recommends appointment of Richard G. Novak, 65 N.
18   Raymond Ave., Suite 320, Pasadena, CA 91103, (626) 578.1175, richard@rgnlaw.com as
19   CJA Learned Counsel in the law applicable to capital cases, as co-counsel to CJA appointed
20   Panel Lawyer Kresta N. Daly as follows:
21          Given the seriousness of the possible death sentence to JASON CORBETT’s charges, it is
22   important for to have representation and counsel as soon as possible, even pre-indictment. In a
23   possible death penalty case, a defendant must have two counsel. We request Mr. Novak’s
24   appointment here be effective nunc pro tunc to June 29, 2019 when Death Penalty Resource
25   Counsel discussed his potential representation with him.
26   Dated: July 17, 2019
27                                                  HEATHER E. WILLIAMS
28                                                  Federal Defender

     InU.S.
        re: v.
            Luis  Reynaldo
               Jason Corbett Reyes Castillo          -1-           Application and [Proposed] Order for
                                                                          Appointment of CJA Counsel
      Case 2:19-cr-00107-KJM Document 109 Filed 07/22/19 Page 2 of 2


 1
                                                ORDER
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 3          Having satisfied the Court that the defendant is financially unable to retain counsel, the
 4   Court hereby appoints Richard G. Novak as learned counsel, pursuant to 18 U.S.C. §§ 3005,
 5   3006A and 3599. Said appointment is effective nunc pro tunc to June 29, 2019.
 6   Dated: July 22, 2019
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                                                       UNITED STATES DISTRICT JUDGE
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     InU.S.
        re: v.
            Luis  Reynaldo
               Jason Corbett Reyes Castillo          -2-             Application and [Proposed] Order for
                                                                            Appointment of CJA Counsel
